Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 1 of 38 PageID
                                        1000



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


 PENGUIN RANDOM HOUSE, LLC, et al.
        Plaintiffs,
               v.
                                                        Case No. 6:24-cv-01573
 BEN GIBSON, in his official capacity as Chair
 of the Florida State Board of Education, et al.,
        Defendants.


  STATE DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND
  RESPONSE TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Florida’s HB 1069 requires district school boards to adopt policies allowing

 residents to petition for removal of “[a]ny material . . . made available in a school

 or classroom library,” if it contains content that is “pornographic or prohibited un-

 der [Fla. Stat.] § 847.012,” or if it “[d]epicts or describes sexual conduct as defined

 in [Fla. Stat.] § 847.001(19).” Fla. Stat. § 1006.28(2)(a)2.b.(I)–(II). Plaintiffs—

 publishers, authors, and students—contend that HB 1069 has resulted in the re-

 moval of books they would prefer to have available in public-school libraries. They

 ask this Court to declare that removing a school-library book on the bases allowed

 by HB 1069 violates the First Amendment. But Plaintiffs filed a shotgun pleading

 and lack standing. And on the merits, the government’s decisions about what

 books to promote in its school libraries are its own speech, and the plaintiffs have

 failed to meet their burden on a facial challenge in any event. The Court should

 grant summary judgment for the State Defendants.
Case 6:24-cv-01573-CEM-RMN         Document 109      Filed 04/01/25    Page 2 of 38 PageID
                                         1001



                                    BACKGROUND

       Plaintiffs bring only a facial challenge to Florida Statutes Section

 1006.28(2)(a)2.b.(I) and (II) (the “Challenged Provisions”). DE1 ¶¶ 12–15. Accord-

 ingly, Plaintiffs challenge no particular application of the Challenged Provisions,

 DE107 at 34, and this case presents a pure legal issue.

       The Legislature passed HB 1069 to “increase[] school district transparency

 and accountability for selecting and using instructional . . . and library materials.”1

 The bill ensures that school districts will be responsible for the content of “class-

 room libraries, in addition to instructional materials and school libraries,” 2 and

 requires them to create procedures for parents to object to certain materials. Fla.

 Stat. § 1006.28(2)(a)2.b. For instance, if, after receiving a parent’s objection, the

 school district determines that the material “[i]s pornographic or prohibited under

 § 847.012,” it “shall discontinue use of” that material. Id. § 1006.28(2)(a)2.b.(I).

 And if the school determines the material “[d]epicts or describes sexual conduct as

 defined in § 847.001(19),” it “shall discontinue use of the material for any grade

 level or age group for which such use is inappropriate or unsuitable.” Id.

 § 1006.28(2)(a)2.b.(II). These are the two Challenged Provisions.

       The Publisher, Author, and Student Plaintiffs challenge those two grounds

 for removal, claiming that withdrawing books on those bases violates their First



       1
          Fla. H.R. Staff, Final Bill Analysis, CS/CS/HB 1069—Education at 1 (May 22, 2023),
 https://www.flsenate.gov/Session/Bill/2023/1069/Analyses/h1069z.EQS.PDF.
       2
           Id.

                                             2
Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 3 of 38 PageID
                                        1002



 Amendment rights. DE1 at 92. They seek only a declaratory judgment that restrict-

 ing public-school-library books that contain pornographic content or describe sex-

 ual conduct violates their First Amendment rights. Id. They seek no other relief.

                                LEGAL STANDARD

       “Summary judgment is appropriate when the evidence,” viewed in the light

 most favorable to the non-movant, “presents no genuine dispute of material fact

 and compels judgment as a matter of law.” Phillips v. Legacy Cabinets, 87 F.4th

 1313, 1320 (11th Cir. 2023). “A factual dispute is genuine if it has a real basis in the

 record and the evidence is such that a reasonable jury could rule in favor of the

 nonmovant.” Id. A fact is material if it could affect the outcome of the suit. Allen v.

 Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997).


                                     ARGUMENT

       This Court should grant summary judgment for the State Defendants’ be-

 cause Plaintiffs’ complaint is a shotgun pleading; Plaintiffs lack standing; and

 Plaintiffs lack a cause of action to bring the second count in their complaint, which

 seeks an advisory opinion about the proper interpretation of Florida law. Plaintiffs’

 claims also fail on the merits. First, the curation of school-library books is govern-

 ment speech, and when the government speaks, it may “regulate the content of . . .

 its own message.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819,

 833 (1995). Second, the government does not abridge First Amendment rights

 merely by withdrawing a gratuitous benefit that facilitates the exercise of those



                                            3
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 4 of 38 PageID
                                       1003



 rights. Third, schools may restrict even student speech during activities bearing

 the school’s “imprimatur” when doing so furthers a legitimate pedagogical interest,

 which plainly is the case here. And even if this Court rejects all of those arguments,

 Plaintiffs still have not met their burden to succeed on their overbreadth claim.

 I.    PLAINTIFFS’ COMPLAINT IS A SHOTGUN PLEADING.

       The Court should grant summary judgment for the State Defendants be-

 cause the building block of Plaintiffs’ case—their complaint—is an impermissible

 shotgun pleading. See DE85-1 at 2–5. The 93-page complaint incorporates by ref-

 erence all 163 paragraphs of factual allegations into each enumerated cause of ac-

 tion—a prototypical shotgun pleading “sin.” Weiland v. Palm Beach Cnty. Sheriff's

 Off., 792 F.3d 1313, 1323 (11th Cir. 2015).

       Worse yet, the complaint is “replete with conclusory, vague, and immaterial

 facts not obviously connected to any particular cause of action.” Weiland, 792

 F.3dat 1322. For example, the complaint states that books were removed under

 Section 1006.28’s prohibitions on content that “describes sexual conduct” and

 “pornographic” content but fails to identify which school districts removed the

 books or what relevance those removals have to any particular claim. DE1 ¶¶ 130–

 32, 135–36, 138–41, 144, 146–47, 151.

       Last, Plaintiffs fail to separate into a different count each cause of action or

 claim for relief. Weiland, 792 F.3d at 1323. In Count I alone, Plaintiffs jumble to-

 gether a First Amendment overbreadth claim (asserting the rights of parties not

 before the Court), First Amendment claims based on alleged violations of the


                                           4
Case 6:24-cv-01573-CEM-RMN        Document 109     Filed 04/01/25   Page 5 of 38 PageID
                                        1004



 Author and Publisher Plaintiffs’ rights to make their books available to readers,

 and a First Amendment claim grounded in the Student Plaintiffs’ supposed right

 to receive information in school libraries. DE1 ¶¶ 164–84. The complaint is thus a

 shotgun pleading all the way down, which warrants summary judgment. See Mag-

 luta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (vacating merits judgment

 because complaint was a shotgun pleading).

 II.   PLAINTIFFS LACK ARTICLE III STANDING.

       Plaintiffs lack standing to sue the State Defendants because any alleged in-

 jury flowing from the statute is not traceable to them or redressable by a declara-

 tory judgment against them. To demonstrate standing, Plaintiffs must establish

 “(1) an injury in fact that (2) is fairly traceable to the challenged action of the de-

 fendant and (3) is likely to be redressed by a favorable decision.” Jacobson v. Fla.

 Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020) (citation omitted). Because

 “standing is not dispensed in gross,” Plaintiffs must demonstrate these elements

 “for each claim that they press and for each form of relief that they seek.” TransUn-

 ion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021). And they must support each

 standing element “in the same way as any other matter on which the plaintiff bears

 the burden of proof,”—here, with “specific facts” “‘set forth’ by affidavit or other

 evidence.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

       1. To establish standing, Plaintiffs “must show a causal connection between

 [their] injur[ies] and the challenged action of the defendant[s] . . . as opposed to

 the action of a[] . . . third party.” City of South Miami v. Governor of Fla., 65 F.4th


                                           5
Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 6 of 38 PageID
                                        1005



 631, 640 (11th Cir. 2023) (citations omitted). Plaintiffs argue that their alleged in-

 juries are traceable to the State Defendants because the State Defendants play an

 “indispensable role in implementing and enforcing the Challenged Provisions.”

 DE107 at 22–23. Plaintiffs point out that “parents and residents are required to

 use the State Defendants’ objection form . . . to object to any particular library

 book[]” and “the State Defendants . . . ‘approv[e] or reject[]’ a special magistrate’s

 recommendation . . . not to remove a library book based on an objection.” DE107

 at 22–23. But Plaintiffs ignore the fact that the statute imposes obligations on the

 school districts directly. The school districts’ fulfillment of those obligations, apart

 from any action by the State Board of Education, leads to Plaintiffs’ purported in-

 juries. Because any injury to Plaintiffs “stems from [the school districts’] enforce-

 ment,” not the State Board’s, Plaintiffs’ injuries are not traceable to the State De-

 fendants. City of South Miami, 65 F.4th at 640.

       Specifically, the statute requires “district school board[s]” to “[a]dopt

 courses of study, including instructional materials, for use in the schools of the

 district.” Fla. Stat. § 1006.28(2)(a). “Each school district must [also] adopt a policy

 regarding an objection by a parent or a resident of the county to the use of a specific

 material.” Id. § 1006.28(2)(a)2. That process must provide “[an] opportunity to

 proffer evidence to the district school board that” the “material used in a class-

 room, made available in a school or classroom library, or included on a reading list

 contains content” falling into at least one of four categories. Id. § 1006.28(2)(a)2.b.

 The two categories whose potential exclusion Plaintiffs challenge are (1) material


                                            6
Case 6:24-cv-01573-CEM-RMN        Document 109     Filed 04/01/25   Page 7 of 38 PageID
                                        1006



 that “[i]s pornographic or prohibited under s. 847.012” and (2) material that

 “[d]epicts or describes sexual conduct as defined in s. 847.001(19).” Id.

 § 1006.28(2)(a)2.b.(I), (II). If the school district determines that the material “[i]s

 pornographic or prohibited under s. 847.012,” it “shall discontinue use of” it. Id.

 § 1006.28(2)(a)2.b. But if the school district determines the material “[d]epicts or

 describes sexual conduct as defined in s. 847.001(19),” it “shall discontinue use of

 the material” only “for any grade level or age group for which such use is inappro-

 priate or unsuitable.” Id.

       Those statutory provisions “operate[] on officials at the local level” by re-

 quiring school districts to implement particular materials-selection procedures.

 City of South Miami, 65 F.4th at 641. Thus, the State Board of Education does not

 “act[] under [Sections 1006.28(2)(a)2.b.(I) and (II)] in such a way that [Plaintiffs’]

 injur[ies] [are] traceable to them or redressable by” a declaratory judgment against

 them. City of South Miami, 65 F.4th at 641; see also DE1 ¶ 108 (“Section 1006.28

 imposes an affirmative burden on school districts.” (emphasis added)).

       Requiring the use of a particular objection form or approving a special mag-

 istrate’s determination does not provide the State Defendants with an enforcement

 role under the statute sufficient to make the Plaintiffs’ alleged injuries traceable to

 the State Defendants and redressable by enjoining them. The Eleventh Circuit has

 held that “traceability [is] lacking if the plaintiff would have been injured in pre-

 cisely the same way without the defendant’s alleged misconduct.” City of South

 Miami, 65 F.4th at 645 (quoting Walters v. Fast AC, LLC, 60 F. 4th 642, 650 (11th


                                           7
Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 8 of 38 PageID
                                        1007



 Cir. 2023)). Because the county school districts “have an independent obligation

 to follow the law,” id. at 643, “an independent source would . . . cause[ ] [Plaintiffs]

 to suffer the same injury” whether the State Defendants “are enjoined or not,” id.

 at 645. In other words, even if the counties did not have to use the State’s current

 objection form, the statute still would require them to “adopt a policy regarding an

 objection by a parent . . . to the use of a specific material” that accounts for the

 categories listed in the Challenged Provisions. Fla. Stat. § 1006.28(2)(a)2.

       Still, Plaintiffs argue that “the State Defendants have coercive authority to

 ensure that school districts comply,” citing Florida Statutes Sections 1001.03(8)

 and 1008.32(1). DE107 at 23–24. But Section 1001.03(8) simply provides that

 “[t]he State Board of Education shall enforce compliance with law and state board

 rule by all school districts . . . in accordance with Section 1008.32.” Section

 1008.32(1) grants the State Board of Education the authority to “request and re-

 ceive information, data, and reports from . . . school districts” “to ensure compli-

 ance with law or state board rule.” These statutes show only that the State Board

 of Education has general “supervisory authority” over school districts. Support

 Working Animals, Inc. v. Governor of Fla., 8 F.4th 1198, 1204 (11th Cir. 2021).

 The State Defendants cannot enforce the statute directly against private parties,

 like the Plaintiffs, such that their injuries cannot be traceable to the State Defend-

 ants’ actions. City of South Miami, 65 F.4th at 644–45 (injury was traceable not to

 Governor, but to local officials tasked with enforcing the challenged law, even

 though Governor could punish local officials for refusing to comply with the law);


                                            8
Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 9 of 38 PageID
                                        1008



 see also Nw. Ass’n. of Indep. Schs. v. Labrador, No. 1:24-CV-00335-AKB, 2025

 WL 843747, at *9 (D. Idaho Mar. 18, 2025) (holding that the parent plaintiffs had

 no standing because the Idaho law “does not prohibit a child, parent, or legal

 guardian’s conduct and does not contain any enforcement provision applicable to

 them. Rather, the statute only prohibits the conduct of schools and public libraries

 and only provides for the enforcement of a violation against schools and public

 libraries.”).

        Plaintiffs rely on Wilding v. DNC Services Corp., 941 F.3d 1116, 1125 (11th

 Cir. 2019), to argue that “[e]ven injuries that are indirect can satisfy traceability.”

 DE107 at 23. That is true, but unhelpful to Plaintiffs here. That some indirect inju-

 ries can satisfy traceability does not change the fact that where particular defend-

 ants do not “act[ ] under” the relevant law, a plaintiff’s “injury is [not] traceable to

 them or redressable by enjoining them.” City of South Miami, 65 F.4th at 641.

        2. Additionally, Plaintiffs lack standing because their alleged injury from the

 State Defendants’ (at best indirect) enforcement of the Challenged Provisions un-

 der Florida Statutes Section 1006.28(2)(a)6. is “highly speculative.” Clapper v.

 Amnesty Int’l USA, 568 U.S. 398, 410 (2013). While the State Defendants may be

 “responsible for ‘approv[ing] or reject[ing]’ a special magistrate’s recommendation

 (following review of a school district’s decision) not to remove a library book,”

 DE107 at 23, enforcement against the counties under that procedure sits at the end

 of a “chain of contingencies,” Clapper, 568 U.S. at 410. A parent of a public-school

 student or a resident of the county would have to object to a school-library book


                                            9
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 10 of 38 PageID
                                       1009



 because it contains pornographic material or describes sexual conduct as defined

 in Florida Statutes Section 847.001(19). Fla. Stat. § 1006.28(2)(a)2.b.(I), (II). The

 district school board would have to determine that the book does not contain por-

 nographic material or describe sexual conduct within the meaning of the statute.

 That parent would then have to disagree with the district school board’s determi-

 nation and request that the Commissioner of Education appoint a special magis-

 trate. The special magistrate would have to find that the book contains porno-

 graphic material or describes sexual conduct within the meaning of the statute and,

 if the latter, that the material is not age-appropriate. The State Board of Education

 would, finally, have to approve that decision. Fla. Stat. § 1006.28(2)(a)3., 6. While

 Plaintiffs have shown that county school districts have removed books from their

 libraries, they have not shown that any, let alone all, of these steps has occurred or

 is likely to occur, so they cannot show a “certainly impending” injury from the State

 Defendants’    enforcement     of   the   challenged    provisions    under    Section

 1006.28(2)(a)6. Clapper, 568 U.S. at 410.

       Plaintiffs’ alleged injuries are also not redressable by a declaratory judgment

 against the State Defendants. See Support Working Animals, 8 F.4th at 1201 (ex-

 plaining that traceability and redressability “often travel together”). After all, if a

 defendant does not enforce a statute, a “declaratory judgment [against that defend-

 ant] is not only worthless to [the plaintiff], it is seemingly worthless to all the

 world.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 106 (1998); see also

 Jacobson, 974 F.3d at 1254 (“Nor can declaratory relief against the [State


                                           10
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 11 of 38 PageID
                                       1010



 Defendants] directly redress any injury to the [Plaintiffs]. A declaratory judgment

 against the [State Defendants] does not bind the [the counties] . . . .”). As the Su-

 preme Court recently explained, a declaratory judgment against officials who do

 not administer the statute against the plaintiffs would be “little more than an ad-

 visory opinion.” Haaland v. Brackeen, 599 U.S. 255, 293 (2023).

 III.   PLAINTIFFS LACK PRUDENTIAL STANDING.

        Plaintiffs also lack overbreadth standing first because the Challenged Provi-

 sions regulate county school districts, not private parties like Plaintiffs who are au-

 thors, publishers, and students; and second because Plaintiffs have not first

 brought an as-applied challenge.

        1. Plaintiffs do not challenge any particular applications of Florida law that

 violate their rights. Instead, they invoke the First Amendment overbreadth doc-

 trine and claim that Florida law is overbroad in infringing the rights of all authors,

 publishers, and students who want the State to carry their preferred books in its

 school libraries. But Plaintiffs may not use overbreadth doctrine to assert the rights

 of authors, publishers, and students not before the Court because the statute does

 not regulate authors, publishers, and students.

        In Mata Chorwadi, Inc. v. City of Boynton Beach, the Eleventh Circuit fore-

 closed using the overbreadth doctrine to assert the rights of persons not regulated

 by the challenged statute. 66 F.4th 1259, 1265 (11th Cir. 2023). As the Court ex-

 plained: “With few exceptions, ‘a litigant may only assert his own constitutional

 rights or immunities.’” Id. at 1264. “The overbreadth doctrine allows litigants ‘to


                                           11
Case 6:24-cv-01573-CEM-RMN       Document 109     Filed 04/01/25   Page 12 of 38 PageID
                                       1011



 challenge a statute not because their own rights of free expression are violated, but

 because of a judicial prediction or assumption that the statute’s very existence may

 cause others not before the court to refrain from constitutionally protected speech

 or expression.’” Id. at 1265. And a law should not be held unconstitutional for over-

 breadth “unless it reaches a substantial number of impermissible applications.” Id.

       But if a law cannot be enforced against a third party because it does not reg-

 ulate that third party, the plaintiff cannot rely on injury to that third party to es-

 tablish overbreadth standing. Id. In Mata Chorwadi, hotel owners alleged that a

 municipal code was overbroad because it chilled hotel guests’ speech, but the code

 imposed penalties only on the hotel owners. Id. Because the code had not been and

 could not be enforced against hotel guests, the hotel owners could not rely on the

 overbreadth doctrine to overcome the prudential limitation on asserting third-

 party rights. Id. The same is true here. The Challenged Provisions regulate only the

 county school districts. They cannot be enforced against authors, students, or pub-

 lishers. Therefore, the Author, Student, and Publisher Plaintiffs cannot rely on the

 overbreadth doctrine to assert the rights of other similarly situated plaintiffs.

       2. The Supreme Court has said repeatedly that facial overbreadth is “strong

 medicine,” United States v. Hansen, 599 U.S. 762, 769–70 (2023), which should

 be reserved for cases in which a statute is constitutional as applied to the plaintiff

 but unconstitutional as applied to non-party claimants. Bd. of Trustees of State

 Univ. of N.Y. v. Fox, 492 U.S. 469, 484–85 (1989); see also Broadrick v. Okla-

 homa, 413 U.S. 601, 612–13 (1973) (overbreadth employed “only as a last resort”).


                                          12
Case 6:24-cv-01573-CEM-RMN       Document 109     Filed 04/01/25   Page 13 of 38 PageID
                                       1012



 Facial overbreadth is a special means of avoiding the prudential-standing doctrine

 that plaintiffs generally may not challenge violations of others’ constitutional

 rights. See Hansen, 599 U.S. at 769. It is not a license to strike down statutes in

 their entirety when a plaintiff suffers constitutional injury from application of the

 statute. As-applied relief remains the ordinary course. Fox, 492 U.S. at 484–85.

       Here, Plaintiffs claim that they suffer constitutional injury but bring no as-

 applied challenge to the Challenged Provisions. DE107 at 18–22. And if a court

 were “to proceed to an overbreadth issue unnecessarily—that is, before it is deter-

 mined that the statute would be valid as applied,” it “would convert use of the over-

 breadth doctrine . . . into a means of mounting gratuitous attacks upon state and

 federal laws.” Fox, 492 U.S. at 484–85 (emphasis added). Plaintiffs cannot skirt

 the prudential rule prohibiting raising violations of others’ constitutional rights by

 electing not to bring an as-applied challenge.

 IV.   PLAINTIFFS LACK A CAUSE OF ACTION TO SUPPORT COUNT II, WHICH IN
       ALL EVENTS IS BARRED BY THE ELEVENTH AMENDMENT.

       Plaintiffs continue to argue on summary judgment that the Court should

 “constru[e] the term ‘pornographic’ to be consistent with ‘harmful to minors’ as

 defined by Section 847.001(7).” DE107 at 48. Plaintiffs’ Count II, labeled a claim

 for “Statutory Construction,” DE1 at 65, asks this Court for a “declaratory judgment

 finding that the term ‘pornographic’ as used in Section 1006.28 is synonymous

 with the term ‘harmful to minors’” in Florida Statutes Section 847.001(7), DE1

 ¶ 195. Alternatively, Count III asks this Court for a “declaratory judgment finding



                                          13
Case 6:24-cv-01573-CEM-RMN       Document 109     Filed 04/01/25   Page 14 of 38 PageID
                                       1013



 that Section 1006.28’s prohibition on ‘pornographic’ content is unconstitutional.”

 DE1 ¶ 215. Plaintiffs, however, identify no cause of action that entitles them to ask

 a federal court to interpret a state statute. The Declaratory Judgment Act itself is

 not a source, as a “declaratory judgment is a form of relief, not a cause of action.”

 Datum Software, Inc. v. Citizant, Inc., No. 23-12538, 2024 WL 3719111, at *2 n.3

 (11th Cir. Aug. 8, 2024); see also Davis v. United States, 499 F.3d 590, 594 (6th

 Cir. 2007) (The Declaratory Judgment Act “does not create an independent cause

 of action.”); Musselman v. Blue Cross & Blue Shield of Ala., 684 F. App’x 824, 829

 (11th Cir. 2017) (Tjoflat, J., concurring specially) (“Congress plainly intended [for]

 the declaratory judgment [to] serve as a primary remedy available for any under-

 lying cause of action.” (emphasis added)). Still less does the Declaratory Judgment

 Act provide a freestanding right to advisory interpretations of law. See United Pub.

 Workers of Am. (C.I.O.) v. Mitchell, 330 U.S. 75, 89 (1947). “[A]n Article III case

 or controversy,” DE106 at 11, does not cure Plaintiffs’ cause-of-action deficiency on

 Count II. “[T]he existence of jurisdiction is quite different from the existence of a

 cause of action.” Planned Parenthood of Kan. & Mid-Mo. v. Moser, 747 F.3d 814,

 834 (10th Cir. 2014) (citing Bell v. Hood, 327 U.S. 678, 682 (1946)), abrogated on

 other grounds by Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320 (2015).

       A stand-alone cause of action for construction of a state statute would fur-

 thermore exceed this Court’s jurisdiction, which the Eleventh Amendment limits

 here. In Count II, Plaintiffs seek a declaratory judgment that “pornographic” as

 used in Section 1006.28(2)(a)2.b.(I) “is a synonym for content that is ‘harmful to


                                          14
Case 6:24-cv-01573-CEM-RMN            Document 109        Filed 04/01/25      Page 15 of 38 PageID
                                            1014



 minors,’” as defined by Florida Statutes Section 847.001(7). DE1 ¶ 187. Plaintiffs

 explain that such a “construction would . . . clarify that the provision merely incor-

 porates the existing Supreme Court obscenity standards as applied to minors.”

 DE107 at 48. But providing such a construction is precisely what the Supreme

 Court has said federal courts lack the authority to do. See Pennhurst State Sch. &

 Hosp. v. Halderman, 465 U.S. 89, 106 (1984). Indeed, “it is difficult to think of a

 greater intrusion on state sovereignty than when a federal court instructs state of-

 ficials on how to conform their conduct to state law.” Id.; see also Doe ex rel. Doe

 #6 v. Swearingen, 51 F.4th 1295, 1303 n.1 (11th Cir. 2022). This Court “cannot

 [require] Florida to follow [its] interpretation of Florida’s own [statute].” Hand v.

 Scott, 888 F.3d 1206, 1213–14 (11th Cir. 2018).

        That Plaintiffs urge the Court to employ the canon of constitutional avoid-

 ance in interpreting Section 1006.28(2)(a)2.b.(I), DE107 at 48, does not change

 the analysis. Count II does not ask the Court to declare the statute unconstitu-

 tional. Count III, by contrast, does; it challenges the statute’s use of the term “por-

 nographic.” And of course, to decide whether a statute is constitutional a court

 must necessarily interpret the statute. See Boos v. Barry, 485 U.S. 312, 331 (1988).

 But that is a different animal entirely from a claim like Count II that simply asks

 the federal court to interpret state law.3 Count II is instead an effort to bind the




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           The Court in its order denying the State Defendants’ motion to dismiss stated that if it
 found for “Plaintiffs on Count II and issues the sought declaration, it will only find State Defend-
 ants’ interpretation of section 1006.28 is in violation of the United States Constitution.” DE106 at

                                                 15
Case 6:24-cv-01573-CEM-RMN              Document 109         Filed 04/01/25       Page 16 of 38 PageID
                                              1015



 State to adhere to an interpretation of state law. Again, “federal courts lack the

 authority to direct state officials to comply with state law.” Archie v. City of Racine,

 847 F.2d 1211, 1217 (7th Cir. 1988). “If the alchemist’s wand can transmute a vio-

 lation of state law into a violation of the Constitution, Pennhurst will be for

 naught . . . .” Id.

         In the end, if Plaintiffs succeed on Count III, “[a] federal court may deter-

 mine state officials’ enforcement of state law violates a federal right,” or at least

 that it would absent an avoidance construction. In re Abbott, 956 F.3d 696, 720

 (5th Cir. 2020), judgment vacated for mootness sub nom. Planned Parenthood

 Ctr. for Choice v. Abbott, 141 S. Ct. 1261 (2021). But a federal court “may not order

 state officials to conform their conduct to state law,” as interpreted by that court.

 Id. Count II cannot stand except as a recapitulation of Count III and therefore must

 be dismissed.

 V.      HB 1069 DOES NOT VIOLATE THE FIRST AMENDMENT.

         A.      The selection of public-school-library books is government
                 speech and therefore not subject to the First Amendment.

         Plaintiffs assert that Section 1006.28(2)(a)2.b.(I) and (II)’s regulation of

 school-library books burdens the Author and Publisher Plaintiffs’ First Amend-

 ment rights because it “remove[s] a key forum through which [they] reach young

 readers” and stigmatizes those Plaintiffs’ books, “chill[ing] the creative process.”

 DE107 at 21–22. Public-school libraries, however, are not fora for private speech.


 13. But that is not the relief Plaintiffs ask for in Count II. DE1 ¶ 195. That is the relief they request
 in Count III. DE1 ¶ 215.

                                                    16
Case 6:24-cv-01573-CEM-RMN            Document 109         Filed 04/01/25      Page 17 of 38 PageID
                                            1016



 The selection or removal of school-library materials is government speech, which

 “[t]he Free Speech Clause . . . does not regulate.” Pleasant Grove City v. Summum,

 555 U.S. 460, 467 (2009). When the government speaks, it “can freely select the

 views that it wants to express, including choosing not to speak and speaking

 through the removal of speech that the government disapproves.” Gundy v. City of

 Jacksonville, 50 F.4th 60, 71 (11th Cir. 2022) (cleaned up).

        1. Although the Eleventh Circuit has not yet directly addressed whether the

 government’s “book collection (and book removal) decisions” for school libraries

 are “government speech,” ACLU of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd., 557

 F.3d 1177, 1201–02 (11th Cir. 2009),4 it has held that the government engages in

 its own speech when it collects private speech for public use. In McGriff v. City of

 Miami Beach, an artist sued Miami Beach after the city removed his painting from

 a city art exhibit over concerns about the painting’s message. 84 F.4th 1330, 1333

 (11th Cir. 2023). In rejecting the artist’s First Amendment claim, the Eleventh Cir-

 cuit held that the collection of art for a public exhibit was government speech, and

 that the government was free to remove “speech that the government disapproves.”

 Id. at 1333–34. If governments “are not obliged to display any particular artwork

 in the art exhibitions that they fund, organize, and promote,” id. at 1336, then they




        4
           In Miami-Dade County School Board, the court had no occasion to decide that question
 because the plaintiffs lost even under the “standard . . . of their dreams”—“the standard that failed
 to attract a majority in the Pico case.” 557 F.3d at 1202 (citing Bd. of Educ. v. Pico, 457 U.S. 853,
 872 (1982) (plurality opinion)).

                                                  17
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 18 of 38 PageID
                                       1017



 are not obliged to display any particular book in the libraries they fund, organize,

 and promote.

       In line with McGriff, the Supreme Court and Eleventh Circuit have repeat-

 edly held that the government may “regulate the content of . . . its own message,”

 Rosenberger, 515 U.S. at 833, including when it speaks through the discretionary

 selection, commission, purchase, or compilation of materials for presentation to

 the public, see Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 586 (1998)

 (government has discretion to make content-based judgments when selecting art

 for funding); Summum, 555 U.S. at 470–73 (same for curating monuments); Leake

 v. Drinkard, 14 F.4th 1242, 1253 (11th Cir. 2021) (parades); Ark. Educ. Television

 Comm’n v. Forbes, 523 U.S. 666, 674 (1998) (televised content). In Summum, for

 example, the Supreme Court held that the selection of monuments for a public park

 was government speech, even when the monuments were funded or donated by

 private parties. 555 U.S. at 470–73. “Government decisionmakers select[ed] the

 monuments that portray[ed] what they view[ed] as appropriate for the place in

 question, taking into account such content-based factors as esthetics, history, and

 local culture.” Id. at 472. Accordingly, the “decision to accept certain privately do-

 nated monuments while rejecting respondent’s” was “government speech,” id. at

 481, and the government was not required to “maintain viewpoint neutrality” in

 making that decision, id. at 479. And because these same “principles . . . also apply

 to a public library’s exercise of judgment in selecting the material it provides to its

 patrons,” United States v. Am. Libr. Ass’n, (“ALA”), 539 U.S. 194, 205 (2003)


                                           18
Case 6:24-cv-01573-CEM-RMN            Document 109         Filed 04/01/25      Page 19 of 38 PageID
                                            1018



 (plurality op.), library-collection decisions are also government speech, PETA v.

 Gittens, 414 F.3d 23, 28 (D.C. Cir. 2005) (“With respect to the public library, the

 government speaks through its selection of which books to put on the shelves and

 which books to exclude.”); Bryan v. Gates, 532 F.3d 888, 898 (D.C. Cir. 2008)

 (Kavanaugh, J., concurring) (“‘[G]overnment speech’ can include not only the

 words of government officials but also ‘compilation of the speech of third parties’

 by government entities such as libraries.”).5

        The Supreme Court’s three-factor test for determining whether a particular

 expressive activity constitutes government speech confirms that conclusion. Those

 factors—“the history of the expression at issue; the public’s likely perception as to

 who . . . is speaking; and the extent to which the government has actively shaped

 or controlled the expression,” Shurtleff v. City of Boston, 596 U.S. 243, 252

 (2022)—all compel the conclusion that the government is speaking when it selects

 or removes public-school-library books.

        First, the government “actively control[s]” the selection and removal of

 school-library books. Id. at 256. In Summum, the Supreme Court explained that

 the City “‘effectively controlled’ the messages sent by the monuments in the Park”

 because it exercised “‘final approval authority’ over their selection.” 555 U.S. at


        5
           Plaintiffs note that the “statements in Gittens and in the concurrence in Gates about
 library books are dicta because neither case involves library books” and “predate the three-part
 test for government speech.” DE107 at 30 n.16. While it is true that neither Gittens, 414 F.3d 23,
 nor Gates, 532 F.3d 888, concerns library books, the dicta in both cases is highly persuasive. And
 the Supreme Court has indicated that whether something constitutes government speech “is
 driven by a case’s context rather than the rote application of rigid factors.” Shurtleff, 596 U.S. at
 252.

                                                  19
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 20 of 38 PageID
                                       1019



 473. Specifically, it “selected th[e] monuments that it want[ed] to display for the

 purpose of presenting the image of the City that it wish[ed] to project,” took “own-

 ership” of the monuments, and “set forth the criteria it [would] use in making fu-

 ture selections.” Id. It did not matter that the City did “not design[] or buil[d]” the

 monuments—it was enough that the City accepted and displayed them. Id. at 472–

 73; see also, e.g., Walker v. Tex. Div., Sons of Confederate Veterans, Inc., 576 U.S.

 200, 212 (2015) (“including the designs that Texas adopts on the basis of proposals

 made by private individuals and organizations” among the license plates deemed

 government speech).

       Public-school libraries are no different. When the government selects mate-

 rials to make available in a public-school library, it conveys that, in its view, those

 materials are of the “requisite and appropriate quality” and will “be of the greatest

 direct benefit or interest to the community” served. ALA, 539 U.S. at 204 (plurality

 opinion) (quotations omitted); see also Fla. Stat. § 1006.28(2)(d)2.c. (requiring

 “[e]ach school district board” to “adopt procedures for developing library . . . col-

 lections” that appeal to “reader interest” and “support . . . state academic standards

 and aligned curriculum, and the academic needs of students and faculty”). The

 government, through public-school-library staff, effectively controls this message

 because it exercises final approval authority over book selection. Id.

 § 1006.28(2)(d)1. (“Each book made available to students through a school district

 library . . . must be selected by a school district employee . . . , regardless of

 whether the book is purchased, donated, or otherwise made available to


                                           20
Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 21 of 38 PageID
                                        1020



 students.”). Because school officials “always select[]” their library materials and

 “maintain[] direct control” of them, Shurtleff, 596 U.S. at 257 (citing Summum,

 555 U.S. at 472–73; Walker, 576 U.S. at 213), the government alone speaks through

 the selection of school-library books. The Author and Publisher Plaintiffs have no

 First Amendment right to force their books onto school-library shelves.

       Plaintiffs argue that the State does not control public-school library curation

 decisions because it does not “exercise[] ‘editorial control’ over the selection of . . .

 monuments” like in Summum and because “local school librarians and their

 schools,” rather than the State, select the books. DE107 at 32. But, as stated, local

 school librarians and county school districts are government employees and enti-

 ties that carry out state law in selecting library materials for public schools. Fla.

 Stat. § 1006.28(2)(d)1. And the Eleventh Circuit has made plain that the govern-

 ment does not need “editorial rights over the exact content of” the speech for it to

 be the government’s speech—“selecting one speaker [or book] over another exhib-

 its control.” Gundy, 50 F.4th at 80.

       Second, “the public would tend to view the [collection of books selected for

 a public-school library] as the government’s” speech. Shurtleff, 596 U.S. at 255.

 Again, in Summum, the Court remarked that “property owners” do “not com-

 mon[ly] . . . open up their property for the installation of permanent monuments

 that convey a message with which they do not wish to be associated.” 555 U.S. at

 471. For that reason, “persons who observe [those] monuments routinely—and




                                            21
Case 6:24-cv-01573-CEM-RMN        Document 109      Filed 04/01/25   Page 22 of 38 PageID
                                        1021



 reasonably—interpret them as conveying some message on the property owner’s

 behalf.” Id.

       So too here. People know that public-school officials—not authors, publish-

 ers, or students—select school-library materials for a purpose. That purpose is not

 that the government necessarily endorses every word on every page of every book

 in its collection, as Plaintiffs maintain, DE107 at 31, but that the materials it makes

 available are, in its view, those that will “interest” its readers and “support . . . the

 academic needs of students and faculty.” Fla. Stat. § 1006.28(2)(d)2.c. As the plu-

 rality explained in ALA, a public library’s mission is to provide materials of “requi-

 site and appropriate quality” that will “be of the greatest direct benefit or interest

 to the community,” not “universal coverage.” 539 U.S. at 204. The fact that authors

 and publishers “take[] part in the . . . propagation of a message,” by communi-

 cating their own message through their books, “does not extinguish the govern-

 mental nature of the message” communicated through the government’s curation

 decisions “or transform the government’s role into that of a mere forum-provider.”

 Gundy, 50 F.4th at 79.

       Third and finally, “the history of the expression at issue,” Shurtleff, 596 U.S.

 at 252, supports that the selection and removal of public-school-library books is

 government speech. This factor favored the city in Summum because

 “[g]overnments have long used monuments to speak to the public.” 555 U.S. at

 470. The same is true of public-school-library books. Though American school

 libraries first began to take shape in the nineteenth century, they are “rightly


                                            22
Case 6:24-cv-01573-CEM-RMN      Document 109     Filed 04/01/25   Page 23 of 38 PageID
                                      1022



 considered a twentieth century development.” Tom J. Cole, The Origin and

 Development of School Libraries, 37 Peabody J. of Educ. 87, 87 (Sept. 1959),

 https://www.jstor.org/stable/1490648; see also U.S. Dep’t of the Interior, Public

 Libraries in the United States of America: Their History, Condition, and

 Management 38–58 (1876), bit.ly/4dcouzw (providing a “historical sketch of

 common school libraries” in several states). In the early stages of their

 development, “differences of opinion arose as to who should select, purchase, and

 regulate or supervise the use of the materials.” Cole, 37 Peabody J. of Educ. at 91.

 But by 1920, standard practice required “[b]ook selections” to “be made by the

 librarian with the approval of the principal.” Am. Library Ass’n, Standard Library

 Organization and Equipment for Secondary Schools of Different Sizes 21 (1920).

 Thus, governments, via school officials, have long exercised control over the

 selection of public-school-library materials, conveying the message that the chosen

 materials are of the “requisite and appropriate quality” and will most benefit and

 interest the community. ALA, 539 U.S. at 204 (plurality opinion). Plaintiffs

 contend that “[t]he State Defendants admit that school librarians—not the State—

 have historically decided which library books to make available to students in their

 local schools.” DE107 at 30–31. But again, public-school librarians are government

 employees and act on behalf of the government. See Fla. Stat. § 1006.29(6).

       Despite Plaintiffs’ contention that “[a]t a minimum, a school library is a non-

 public forum,” DE107 at 17, 37, the three-factor test demonstrates that the govern-

 ment has not created any type of forum because it alone speaks through the


                                         23
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 24 of 38 PageID
                                       1023



 selection of public-school-library books. See Walker, 576 U.S. at 215 (stating that

 “forum analysis is misplaced” when “the State is speaking on its own behalf”). That

 result tracks the ALA plurality’s conclusion that “forum analysis and heightened

 judicial scrutiny are incompatible with . . . the discretion that public libraries must

 have to consider content in making collection decisions.” 539 U.S. at 205. That

 principle applies with even more force in public-school libraries, the purpose of

 which is to support the government’s educational mission by “providing materials

 that properly supplement the basic readings assigned through the standard curric-

 ulum.” Zykan v. Warsaw Cmty. Sch. Corp., 631 F.2d 1300, 1308 (7th Cir. 1980).

 School district employees would be unable to carry out the legislature’s mandate

 in Section 1006.28(2)(d)2.c. to provide school-library collections that interest

 readers and support the academic needs of students, if private parties could hijack

 the government’s message by forcing their preferred books onto school-library

 shelves. See Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S.

 557, 572–73 (1995) (parade organizers not required to include voices they wished

 to exclude); Leake, 14 F.4th at 1253 (same for government-parade organizer).

 Forcing the government “to speak” in a school library “what [it] do[es] not believe

 on pain of” lawsuit, 303 Creative LLC v. Elenis, 600 U.S. 570, 589 (2023), would

 put policy decisions about what to teach in schools in the hands of litigants rather

 than elected representatives. “Indeed, it is not easy to imagine how government

 could function if it lacked this freedom.” Summum, 555 U.S. at 468.




                                           24
Case 6:24-cv-01573-CEM-RMN     Document 109     Filed 04/01/25   Page 25 of 38 PageID
                                     1024



       But even if public-school libraries were nonpublic fora, the Supreme Court’s

 “decisions have long recognized that the government may impose some content-

 based restrictions on speech in [other types of] nonpublic forums” as well. Minne-

 sota Voters All. v. Mansky, 585 U.S. 1, 12 (2018). The Court has explained that “a

 speaker may be excluded from a nonpublic forum if he wishes to address a topic

 not encompassed within the purpose of the forum.” Cornelius v. NAACP Legal Def.

 & Educ. Fund, Inc., 473 U.S. 788, 806 (1985). In sum, “the government violates

 the First Amendment when it denies access to a speaker solely to suppress the

 point of view he espouses on an otherwise includible subject.” Id. The purpose of a

 public-school library is to support the government’s educational mission by

 providing reading materials that supplement the curriculum. Zykan v. Warsaw

 Cmty. Sch. Corp., 631 F.2d 1300, 1308 (7th Cir. 1980). It is not to provide access

 to age-inappropriate descriptions of sexual conduct or pornographic content or

 materials that would be harmful to minor students.                See Fla. Stat.

 § 1006.28(2)(a)2.b.(I), (II). Thus, even if public-school libraries were nonpublic

 fora, the Challenged Provisions would permissibly restrict content “not encom-

 passed within the purpose of” school libraries, rather than viewpoint. See Cor-

 nelius, 473 U.S. at 806.

       Plaintiffs argue that “[e]very court to consider this issue agrees” that “the

 First Amendment right to freedom of speech exists in public libraries, including

 public school libraries.” DE107 at 26–27 & n.15. But Plaintiffs cite no binding




                                         25
Case 6:24-cv-01573-CEM-RMN           Document 109        Filed 04/01/25      Page 26 of 38 PageID
                                           1025



 precedent in support of that proposition. Many cases they cite also rely on Pico,6

 which the Eleventh Circuit rejected as “a badly fractured decision” that is “of no

 precedential value as to the application of the First Amendment to these issues”

 and “establishes no standard.” Miami-Dade Cnty. Sch. Bd., 557 F.3d at 1199–1200

 (quotations omitted). Still other cases they cite do not discuss government speech

 at all, much less reject its application in the library context.7 And the only two cases

 Plaintiffs cite rejecting the government-speech framework in this context either

 provide no explanation other than “library collection[s] [are] materially different,”

 PEN Am. Ctr., Inc. v. Escambia Cnty. Sch. Bd., 711 F. Supp. 3d 1325, 1331 (N.D.

 Fla. 2024), or address government speech in dicta while resolving the case on

 standing, GLBT Youth in Iowa Schools Task Force v. Reynolds, 114 F.4th 660,

 667–68 (8th Cir. 2024).8




        6
           See DE107 at 27 n.15 (citing Campbell v. St. Tammany Par. Sch. Bd., 64 F.3d 184, 189
 (5th Cir. 1995); Fayetteville Pub. Libr. v. Crawford Cnty., 684 F. Supp. 3d 879, 909 (W.D. Ark.
 2023); Little v. Llano Cnty., 103 F.4th 1140, 1151–52 (5th Cir.) (relying on Campbell, which relies
 on Pico), reh’g granted en banc, 106 F.4th 426 (5th Cir. 2024); Counts v. Cedarville Sch. Dist.,
 295 F. Supp. 2d 996, 1004 (W.D. Ark. 2003); Sund v. City of Wichita Falls, Tex., 121 F. Supp. 2d
 530, 552 (N.D. Tex. 2000); Case v. Unified Sch. Dist. No. 233, 908 F. Supp. 864, 874–76 (D. Kan.
 1995); Order On Motion For Preliminary Injunction at 14, Adams v. Matanuska-Susitna Borough
 Sch. Dist., No. 3:23-cv-00265-SLG (D. Alaska Aug. 6, 2024)).
        7
           See DE107 at 27 n.15 (citing Minarcini v. Strongsville City Sch. Dist., 541 F.2d 577, 582
 (6th Cir. 1976); Sheck v. Baileyville Sch. Comm., 530 F. Supp. 679, 686–89 (D. Me. 1982); Salvail
 v. Nashua Bd. of Ed., 469 F. Supp. 1269, 1272–73 (D.N.H. 1979); Right To Read Def. Comm. of
 Chelsea v. Sch. Comm. of City of Chelsea, 454 F. Supp. 703, 710–11 (D. Mass. 1978)).
        8
           This Court found the Eighth Circuit’s opinion in Reynolds persuasive and noted that that
 court found “reliance on [Summum] unavailing as public school libraries do not share the char-
 acteristics of monuments in a park.” DE106 at 19. But as mentioned above, Reynolds only dis-
 cussed government speech in dicta, and this Court is bound by McGriff, 84 F.4th 1330, which
 presents a largely indistinguishable fact pattern.

                                                26
Case 6:24-cv-01573-CEM-RMN           Document 109        Filed 04/01/25     Page 27 of 38 PageID
                                           1026



        2. Student Plaintiffs R.K. and J.H. also wrongly contend that Section

 1006.28(2)(a)2.b.(I) and (II)’s regulation of school-library books that contain con-

 tent that is pornographic or describes sexual conduct violates their right to receive

 information. DE107 at 18.9 But the government has no constitutional obligation to

 present educational material with which it disagrees. At the outset, the Supreme

 Court has rejected that the First Amendment confers an abstract right to receive

 information without some sort of special relationship to the speaker. Murthy v.

 Missouri, 603 U.S. 43, 75 (2024). And even if there were a right to receive infor-

 mation here, “[t]he listener’s right to receive information is reciprocal to the

 speaker’s right to speak,” Doe ex rel. Doe v. Gov’r of N.J., 783 F.3d 150, 155 (3d

 Cir. 2015), and that right cannot be deployed to interfere with the government’s

 own message. Students have no more right to control what the government puts in

 its libraries than they do to control the content of a school cheer, see Dean v. War-

 ren, 12 F.4th 1248, 1265–66 (11th Cir. 2021) (cheerleading is government speech),

 or the message the school communicates while students participate in a training

 practicum, see Keeton v. Anderson-Wiley, 664 F.3d 865, 877 (11th Cir. 2011) (clin-

 ical practicum is government speech). Holding otherwise would be equivalent to

 saying that motorists have a constitutional right to see vanity license plates of their

 choosing, or that tourists have a right to view public monuments that align with




        9
         Student Plaintiff J.H. only brings claims in Counts I and VII, challenging Section
 1006.28(2)(a)2.b.(II)’s regulation of materials that describe sexual conduct as defined in Section
 847.001(19).

                                                27
Case 6:24-cv-01573-CEM-RMN       Document 109     Filed 04/01/25   Page 28 of 38 PageID
                                       1027



 their preferred message—even if the government may constitutionally decline to

 offer such a license plate, see Walker, 576 U.S. at 219–20, or erect such a monu-

 ment, see Summum, 555 U.S. at 470–73, in the first place.

       For their right-to-receive-information theory, Plaintiffs cite Campbell, 64

 F.3d 184, a case from the Fifth Circuit, DE107 at 19. But that circuit is presently

 considering Campbell’s vitality en banc. Little v. Llano Cnty., 106 F.4th 426, 427

 (5th Cir. 2024) (per curiam) (granting rehearing en banc). Campbell also relies on

 Pico—a Supreme Court plurality opinion of no precedential value in the Eleventh

 Circuit. See Miami-Dade Cnty. Sch. Bd., 557 F.3d at 1199–1200. The Pico plurality

 furthermore suggests only that school-library materials may not be selected “in a

 narrowly partisan or political manner.” 457 U.S. 853, 870 (1982) (plurality op.). It

 does not establish a general right to demand information from the government.

       Plaintiffs also cite Minarcini, 541 F.2d at 583 and Kleindienst v. Mandel,

 408 U.S 753, 763 (1972), to support their theory that students have a First Amend-

 ment right to receive information “in school libraries.” DE107 at 18–19. But

 Minarcini, like Pico, predates the Supreme Court’s government-speech cases,

 which have since established principles that—as Justice Rehnquist observed in his

 dissent—would have required a different result in those cases. See 457 U.S. at 920

 (Rehnquist, J., dissenting, joined by Burger, C.J., and Powell, J.) (“[T]he Court will

 far better serve the cause of First Amendment jurisprudence by candidly recogniz-

 ing that the role of government as sovereign is subject to more stringent limitations

 than is the role of government as . . . educator.”). And Kleindienst did not


                                          28
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 29 of 38 PageID
                                       1028



 contemplate a student’s right to receive information in a public-school library; ra-

 ther, it concerned the right of professors to hear a speaker invited to a conference

 organized and presented by private parties, not the government. 408 U.S. at 756–

 57, 762–64. And unlike the professors there, practical realities underscore that el-

 ementary, middle, and high school students do not have a right to demand access

 to any particular information in public-school libraries because, as even Plaintiffs

 acknowledge, “parents have the ability to choose which books their own children

 can access in a school library.” DE107 at 3.

       B.     The government has no First Amendment obligation to pro-
              vide benefits such as public-school libraries.

       Plaintiffs themselves acknowledge that “school libraries are not compul-

 sory.” DE107 at 27. So even apart from whether the selection (or removal) of

 school-library books is government speech, Plaintiffs’ First Amendment claims fail

 because the government does not generally violate the First Amendment when it

 withdraws a benefit that merely facilitates the exercise of a constitutional right. See

 Ysursa v. Pocatello Educ. Ass’n, 555 U.S. 353, 359–60 & n.2 (2009); Rust v. Sulli-

 van, 500 U.S. 173, 200 (1991). That makes sense because “[t]he First Amendment

 . . . protects the right to be free from government abridgement of speech.” Ysursa,

 555 U.S. at 358. It does not require the government “to assist others in funding the

 expression of particular ideas.” Id. Thus, “[a] legislature’s decision not to subsidize

 the exercise of a fundamental right does not infringe the right.” Id. (quotation

 omitted).



                                           29
Case 6:24-cv-01573-CEM-RMN       Document 109     Filed 04/01/25   Page 30 of 38 PageID
                                       1029



       The ALA plurality opinion said as much. As the plurality explained even be-

 fore formal recognition of the modern government-speech doctrine, see infra note

 9, no one has a First Amendment right to prevent the government from making

 content-based distinctions in the selection and removal of public-library materials.

 539 U.S. at 205. Instead, the government has “wide latitude” to insist that “public

 funds be spent for the purpose for which they were authorized.” Id. at 203, 211

 (quoting Rust, 500 U.S. at 196). And—just as in school libraries—selecting and re-

 moving library books on that basis is directly related to libraries’ “traditional role

 of obtaining material of requisite and appropriate quality for educational and in-

 formational purposes.” Id. at 211.

       In Ysursa, similarly, Idaho law had previously authorized employers to de-

 duct both general union dues and fees for union political activities from an em-

 ployee’s wages. 555 U.S. at 356. In 2003, the Idaho Legislature passed a law pro-

 hibiting “payroll deductions for political purposes.” Id. Labor organizations sued a

 county and the State alleging that the law violated the First and Fourteenth

 Amendments. Id. The Supreme Court observed first that the State was “not consti-

 tutionally obligated to provide payroll deductions at all.” Id. at 359. In addition,

 even though “publicly administered payroll deductions for political purposes

 [could] enhance the unions’ exercise of First Amendment rights,” the unions were

 still free to engage in the same speech activities under the new law. Id. Thus, the

 State’s decision not to subsidize the unions’ speech did not abridge their speech,

 and Idaho only had to demonstrate a rational basis to justify its law. Id.


                                          30
Case 6:24-cv-01573-CEM-RMN            Document 109        Filed 04/01/25      Page 31 of 38 PageID
                                            1030



        The same is true here. The First Amendment does not require the govern-

 ment to provide access to particular materials in public-school libraries or to have

 school libraries at all. See id. at 358. Plaintiffs admit that “[s]chool libraries are not

 compulsory.” DE107 at 29. The students are free to access those books elsewhere,

 and authors and publishers can still distribute their books to students through

 bookstores or other libraries.10 Thus, the government’s decision to withdraw the

 public benefit of facilitating access to certain books for students or enhancing an

 author or publisher’s ability to speak to students is subject at most to rational-basis

 review. And Florida’s restriction of school-library books containing pornographic

 content or describing sexual conduct is rationally related to the State’s interest in

 “protect[ing] the welfare of children.” Ginsberg v. New York, 390 U.S. 629, 640

 (1968) (quotation omitted).

        This Court previously found this argument unpersuasive because “the stat-

 ute does not evenhandedly withdraw access to public school libraries or particular

 books throughout the state” and because “speech is being restricted here, not fund-

 ing.” DE106 at 22. But if the government is not required fund any public libraries

 at all, library patrons cannot claim a First Amendment right to demand that a pub-

 lic-school library the government does choose to fund include particular books.




        10
            This is therefore not a case in which the government has unconstitutionally sought “to
 leverage funding to regulate speech outside the contours of the program itself.” Agency for Int’l
 Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214–15 (2013). Florida has not, for instance,
 conditioned a book’s presence in a public-school library on the author’s or publisher’s willingness
 to alter the contents of the book in all its circulations.

                                                 31
Case 6:24-cv-01573-CEM-RMN      Document 109     Filed 04/01/25   Page 32 of 38 PageID
                                      1031



 Moreover, that the government in Ysursa stopped facilitating union speech by

 withdrawing a subsidy, whereas here the government stopped providing access to

 certain speech by removing books from the library, is a distinction without a dif-

 ference.

       C.    The First Amendment permits restriction of student speech
             during activities that bear a public school’s imprimatur.

       Even if the First Amendment did limit the selection and removal of public-

 school-library books, Plaintiffs would be entitled at most to the rational-basis re-

 view set forth in Hazelwood School District v. Kuhlmeier, which HB 1069 easily

 survives. There, the Supreme Court held that schools may restrict even student

 speech during “expressive activities that students, parents, and members of the

 public might reasonably perceive to bear the imprimatur of the school,” if doing so

 is “reasonably related to legitimate pedagogical concerns.” 484 U.S. 260, 271, 273

 (1988). And students certainly are not entitled to more stringent review of the

 school’s decisions about its own materials than decisions affecting the student’s

 own speech. More so than any student speech, the public reasonably perceives

 school-library materials to “bear the imprimatur of the school” because they un-

 derstand, and Florida law confirms, that public-school officials control the selec-

 tion of school-library materials. See supra 19–20; Fla. Stat. § 1006.28(2)(d)2.c.

       In Hazelwood, the Court explained that restrictions advance a “legitimate

 pedagogical concern” when they shield students from topics that are “vulgar or

 profane,” “inadequately researched,” or “unsuitable for immature audiences,”



                                         32
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 33 of 38 PageID
                                       1032



 including “potentially sensitive topics, which might range from the existence of

 Santa Claus in an elementary school setting to the particulars of teenage sexual

 activity in a high school setting,” or “matters of political controversy.” 484 U.S. at

 271–72. Those are precisely the interests advanced by Section 1006.28(2)(a)2.b.(I)

 and (II)’s restrictions on school-library books containing pornographic content or

 describing sexual conduct—i.e., materials that may be “vulgar or profane,” “unsuit-

 able for immature audiences,” or include “potentially sensitive topics.” Id. The stat-

 ute therefore does not violate the Student Plaintiffs’ right to receive information.

       The Author and Publisher Plaintiffs additionally claim that interfering with

 their ability to make their books available to students violates their First Amend-

 ment rights. DE107 at 20–22. These claims fail because no Florida official has

 “evince[d] either by policy or by practice, any intent to open” public-school librar-

 ies to “indiscriminate use” by authors or publishers. Hazelwood, 484 U.S. at 270

 (quotation omitted). Instead, school districts alone select and remove materials

 from school libraries. Fla. Stat. § 1006.28(2)(d)2.c., d. As a matter of common

 sense, if “[a] school . . . retain[s] the authority to refuse to sponsor student speech

 that might reasonably be perceived to advocate drug or alcohol use, irresponsible

 sex, or conduct otherwise inconsistent with ‘the shared values of a civilized social

 order,’” a school need not tolerate author or publisher speech in its libraries that

 does the same. Hazelwood, 484 U.S. at 272. (quotation omitted).

       Plaintiffs attempt to create a distinction between “compulsory” and “volun-

 tary” educational “environments,” arguing that library-book selection decisions


                                           33
Case 6:24-cv-01573-CEM-RMN           Document 109        Filed 04/01/25     Page 34 of 38 PageID
                                           1033



 “must withstand greater [First Amendment] scrutiny” than “curricular” decisions.

 DE107 at 29 (quotation omitted). For that, Plaintiffs rely on Campbell, “at 189,”

 and Virgil v. School Board of Columbia County, 862 F.2d 1517 (11th Cir. 1989),

 “1522–25.” DE107 at 29. In Campbell, at 189, the Fifth Circuit applied Pico to the

 removal of a book from the public-school library, while in Virgil, at 1522, the Elev-

 enth Circuit applied Hazelwood to the removal of a book from the curriculum.11

 Neither dictates what standard this Court should apply in this case. Campbell fol-

 lowed Pico, which, again, has no precedential value in the Eleventh Circuit. Miami-

 Dade Cnty. Sch. Bd., 557 F.3d at 1199–1200. And Virgil did not concern a school-

 library book. As evidence that Virgil has no import in the school-library context,

 when considering which standard to apply to a school-library book removal in a

 later case, the Eleventh Circuit considered whether to apply the Pico, Hazelwood,

 or government-speech standard. Miami-Dade Cnty. Sch. Bd., 557 F.3d at 1202.

 Though the court ultimately left “[t]he question of what standard applies to school

 library book removal decisions . . . unresolved,” id., it did not cite Virgil as dictat-

 ing the result in that case. If this Court rejects the State Defendants’ arguments

 that the selection and removal of public-school library books is government speech




        11
           Virgil likely would have come out differently today. Virgil was decided in 1989 “before
 Rust, Rosenberger, Forbes, Finley, and ALA, and therefore did not have the benefit of the Su-
 preme Court’s clarification of the government’s authority over its own message.” Chiras v. Miller,
 432 F.3d 606, 617 (5th Cir. 2005). By 2005, the Supreme Court formally recognized the govern-
 ment-speech doctrine in Johanns v. Livestock Marketing Ass’n, 544 U.S. 550 (2005), and that
 same year, in Chiras, the Fifth Circuit rejected Hazelwood as the standard applicable to First
 Amendment challenges to text book selection, instead holding that “the selection and use of text-
 books in the public school classrooms constitutes government speech.” Chiras, 432 F.3d at 616.

                                                34
Case 6:24-cv-01573-CEM-RMN       Document 109      Filed 04/01/25   Page 35 of 38 PageID
                                       1034



 or a government benefit, then it should apply the Hazelwood standard to those

 types of curation decisions because school-library materials bear the imprimatur

 of the school and school officials have not opened school libraries for indiscrimi-

 nate use by authors and publishers.

       D.     If the Court determines it is appropriate to conduct an over-
              breadth analysis, Plaintiffs have not met their evidentiary
              burden.

       Even if Plaintiffs could scale all those hurdles, they still would not have met

 their evidentiary burden to prove their facial overbreadth challenge. To succeed on

 a facial First Amendment challenge, Plaintiffs must establish that “a substantial

 number of the law’s applications are unconstitutional, judged in relation to the

 statute’s plainly legitimate sweep.” Moody v. NetChoice, LLC, 603 U.S. 707, 723

 (2024) (quotation omitted). Plaintiffs identify the “scope of the challenged por-

 tions of Section 1006.28 . . . [as] materials in Florida school libraries that contain

 a description of sexual conduct or so-called ‘pornographic’ content.” DE107 at 35.

 And they state that “[i]n light of the[] purposes [of libraries], the reasonable and

 therefore constitutional applications of the Challenged Provisions are” limited to

 materials that would be obscene for minors. DE107 at 38–39. These “constitu-

 tional applications” would be “few, if any,” Plaintiffs contend, because “it would be

 the rare exception that a school library would contain a book that would be ob-

 scene.” DE107 at 39–40. Yet that theory is rife with problems.

       First off, Plaintiffs offer no evidence to support the sweeping assumption

 that material obscene for children will rarely find its way into a library. The Florida


                                           35
Case 6:24-cv-01573-CEM-RMN       Document 109     Filed 04/01/25   Page 36 of 38 PageID
                                       1035



 Legislature obviously rejected that premise in passing a law that requires schools

 to remove obscene books. See Fla. Stat. § 1006.28(2)(a)2.b.(I) (requiring school

 districts to remove materials with content “prohibited under s. 847.012,” which in

 turn prohibits materials “harmful to minors,” which in turn is defined in Fla. Stat.

 § 847.001(7) as material that would be obscene under current Supreme Court prec-

 edent for minors); see also id. § 1006.28(2)(a)2.b.(II). And Plaintiffs make no at-

 tempt to prove the Legislature wrong. They do not catalogue the books in public-

 school libraries that contain descriptions of sexual conduct or pornographic con-

 tent and identify which titles might be obscene for minors. See Moody, 603 U.S. at

 724 (Plaintiffs must address “the full range of [books] the law[] cover[s], and meas-

 ure the constitutional against the unconstitutional applications.”). Nor do they ad-

 equately explain what facts make it unlikely that obscene materials might find their

 way into a school library. See DE107 at 17, 39. They simply assert, without evi-

 dence, that library personnel are likely to have plucked obscene books at the

 schoolhouse gates. See DE107 at 39. But that is not sufficient evidence to convince

 a reasonable jury. OPAWL - Bldg. AAPI Feminist Leadership v. Yost, 118 F.4th

 770, 776 (6th Cir. 2024) (Because “[t]he plaintiffs never presented evidence that

 lawful permanent residents spend significantly more money on Ohio elections

 than other categories of foreign nationals,” and it was their burden “to show that

 [the law] sweeps too broadly, . . . their overbreadth challenge fail[ed]”); see Moody,

 603 U.S. at 726. “What can be asserted without evidence, can be dismissed without




                                          36
Case 6:24-cv-01573-CEM-RMN       Document 109    Filed 04/01/25   Page 37 of 38 PageID
                                       1036



 evidence.” Raina Haque et. al., The Non-Obvious Razor & Generative AI, 25 N.C.

 J. L. & Tech. 399, 405 n.24 (2024).

       Worse yet, “whether a work qualifies as obscenity [for minors] . . . is a ques-

 tion of fact,” tied to age, making it exceedingly difficult to assess how many appli-

 cations of HB 1069 will involve obscenity. United States v. Salcedo, 924 F.3d 172,

 176 (5th Cir. 2019) (quotation omitted). What is obscene to a minor, after all, is

 quite different from what is obscene to an adult. As a result, HB 1069’s constitu-

 tionality in a given application turns not only on the book to which it is applied,

 but also on whether it would be obscene for the age of its reader in the first place.

 And that age-variable standard adds yet another layer of factual inquiry for which

 Plaintiffs have failed to account.

       Finally, Plaintiffs assume that the statute’s application to non-obscene ma-

 terials would be unconstitutional without attempting to show that those applica-

 tions would fail strict scrutiny. They simply declare that any application “beyond

 obscenity” would be “[im]permissible.” DE107 at 47. That conclusion does not fol-

 low. If a given book is not obscene, and is subject to full First Amendment protec-

 tion, removal of that book on the basis of content does not necessarily become un-

 constitutional. It would just become subject to strict scrutiny. And Plaintiffs have

 made no effort to explain how strict scrutiny would cash out in all of the law’s var-

 ied applications. They have thus failed to meet their burden to show that the vast

 majority of the statute’s applications would be unconstitutional, judged in relation

 to the statute’s plainly legitimate sweep.


                                          37
Case 6:24-cv-01573-CEM-RMN      Document 109     Filed 04/01/25    Page 38 of 38 PageID
                                      1037



       “[T]he Supreme Court has noted that the overbreadth doctrine is strong

 medicine that should be employed only with hesitation and . . . as a last resort.”

 Am. Booksellers v. Webb, 919 F.2d 1493, 1500 (11th Cir. 1990) (quotation omitted).

 Plaintiffs have not met their burden on summary judgment to enable this Court to

 prescribe such strong medicine here.

                                  CONCLUSION

       For the foregoing reasons, the Court should grant the State Defendants’ mo-

 tion for summary judgment.

 Dated: April 1, 2025                      Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I certify that on April 1, 2025, a true and correct copy of the foregoing was

 filed with the Court’s CM/ECF system, which will provide service to all parties.

                                        /s/ Bridget K. O’Hickey
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                                         38
